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8    Attorneys for Defendant
     MARK DOMINGO
9
10                            UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12                                  WESTERN DIVISION
13
14   UNITED STATES OF AMERICA,                       Case No. CR 19-313-SVW
15               Plaintiff,                          SUPPLEMENT TO MARK
                                                     DOMINGO’S OPPOSITION TO
16         v.                                        GOVERNMENT’S MOTION IN
                                                     LIMINE TO LIMIT DR. MARC
17   MARK DOMINGO,                                   SAGEMAN’S TESTIMONY AND, IN
                                                     THE ALTERNATIVE, TO HOLD A
18               Defendant.                          DAUBERT HEARING
19                                                   Hearing Date: TBD
                                                     Hearing Time: TBD
20
21         In response to the Court’s request on July 13, 2020, that the defense provide the
22   Court with a list of cases in which Dr. Marc Sageman has testified, Mark Domingo by
23   and through his counsel of record, Deputy Federal Public Defenders, David I.
24   Wasserman and Angela C. C. Viramontes, hereby files this Supplement to Mark
25   ///
26   ///
27   ///
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1    Domingo’s Opposition to Government’s Motion In Limine To Limit Dr. Marc
2    Sageman’s Testimony and, in the Alternative, to Hold a Daubert Hearing.
3                                         Respectfully submitted,
4                                         CUAUHTEMOC ORTEGA
                                          Interim Federal Public Defender
5
6
7    DATED: July 17, 2020              By /s/ Angela C. C. Viramontes
8                                        ANGELA C. C. VIRAMONTES
                                         DAVID I. WASSERMAN
9                                        Deputy Federal Public Defenders
                                         Attorneys for Mark Domingo
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1                                        LIST OF CASES
2            The following is a list of cases where Dr. Sageman testified as an expert or
3    submitted an expert report:
4            U.S. v. Sinmyah Amera Ceasar, NYED, No. 17-CR-48 and 19-CR-117 (JBW)*
5            U.S. v. Joseph Jones & Edward Schimenti, ND Illinois, ED, No. 17 CR 236
6    (ARW)*
7            U.S. v. Amer Alhaggagi, ND California, SF Division, No. CR-17-0387 CRB*
8            Ikram Khan v. U.S.C.I.S., SDFL, Miami, No. 15-CV-23406-DPG*
9            U.S. v. Adam Shafi, ND California, SF Division, No. 15-CR-582-WHO*
10           U.S. v. Amor Ftouhi, USDC, ED Michigan, No. 17-cr-20456-LVP
11           U.S. v. Bakhtiyor Jumaev, USDC, CO, No. 12-cr-00033-JLK*
12           U.S. v. Enrique Marquez, Jr. ED CR California, 15-93-JGB
13           U.S. v. Mohamed Elshinawy, Maryland, No. ELH-16-0009*
14           U.S. v. Keonna Thomas, E.D. PA, No. 0313 2:15CR00171-001 (MMB)
15           U.S. v. Munir Abdulkader, S.D., Ohio, No. 1:16CR00019-001 (MRB)
16           DoD, Periodic Review Board, Guantanamo Detainee MR-760, Mohamedou Ould
17   Slahi
18           U.S. v. Abdul Malik Abdul Kareem, Arizona, CR-15-707-PHX-SRB (MHB)*
19           Ayman Latif, et al v. Loretta Lunch, et al, OR, Portland Division, No. 3:10-CV-
20   00750-BR
21           Linde et al v. Arab Bank, E.D.N.Y., No. 04-CV-02799 et al (BMC)
22           U.S. v. Fazliddin Kubanov, Idaho, No. CR-13-120-S-EJL*
23           U.S. v. Abdalla Tounisi, N.D. Illinois, 13 CR 328 (SDY)
24           U.S. v. Irek Hamidullin, E.D.VA, Richmond Division, No. 3:14-CR-140-HEH*
25           U.S. v. Haroon Aswat, S.D.N.Y., No. 04-CR-356 (KBF)
26           U.S. v. Adel Abdel Bary, S.D.N.Y., No. 98-CR-1023 (LAK)
27           U.S. v. Babar Ahmad, Connecticut, No. 3:04-CR-00301-JCH
28           U.S. v. Sohiel Kabir, et al., C.D. Cal ED CR No 12-0092(B)-VAP*
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1           U.S. v. Tarek Mehanna, Massachusetts, CR No. 9-10017-GAD*
2           U.S. v. Mohamed Mohamud, OR, Portland Division, No. 3:10-CR-475-KI*
3           DoD, U.S. v. Omar Khadr, Guantanamo Detainee CA-766
4
5    List of legal Cases, where Dr. Sageman qualified as an expert but ultimately did not
6    testify:
7           U.S. v. Alison Sheppard, M.D.Fl., No. 2:18-CR-19-FtM-38UAM
8           U.S. v. Christopher Cornell, S.D. Ohio, No. 1:15-CR-012 (SB)
9           U.S. v. Daniel Boyd, E.D. of North Carolina, Western Division, NO.5: 09-CR-
10   216-IFL
11          U.S. v. Tahawwur Hussain Rana, N.D. Illinois, E.D., No. 09 CR 830-HDL
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